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                  UNITED STATES DISTRICT COURT
                   MIDDLE DISTRICT OF FLORIDA
                         TAMPA DIVISION

UNITED STATES OF AMERICA

v.                                               Case No. 8:20-mj-1518-AEP

MUHAMMED MOMTAZ AL-AZHARI
_______________________________________/
                  MOTION TO REVOKE DETENTION ORDER

      NOW COMES Defendant, Muhammed Momtaz Al-Azhari, by and

through undersigned counsel, and moves this Court to revoke the

magistrate judge’s detention order under 18 U.S.C. § 3145(b). 1

                            MEMORANDUM OF LAW

                                 BACKGROUND

      The Government filed a criminal complaint in this case alleging

that Mr. Al-Azhari attempted to provide material support to a foreign

terrorist organization (FTO), in violation of 18 U.S.C. § 2339B. Mr. Al-

Azhari was arrested, and a magistrate judge held an initial appearance,

preliminary hearing, and detention hearing, on May 27, 2020. (Doc.



1 To the extent Fed. R. Crim. P. 59 applies to a magistrate judge’s detention order,
Mr. Al-Azhari also hereby objects to the order under that rule. See United States v.
Doby, 928 F.3d 1199, 1204-1207 (10th Cir. 2019) (holding that Rule 59 does not apply
to a magistrate judge’s order under the Bail Reform Act); but see United States v.
Tooze, 236 F.R.D. 442, 443-45 (D. Ariz. 2006) (coming to the contrary conclusion).
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13). After the magistrate judge found probable cause that Mr. Al-

Azhari committed the offense at the preliminary hearing, the

Government moved to detain him under 18 U.S.C. § 3142(f)(1)(A) and

(f)(2). (R. at 58, 60-61) (“R.” citations refer to the transcript of these

proceedings).

      The complaint is accompanied by a 62-page affidavit executed by

Federal Bureau of Investigation (FBI) Special Agent Cynthia Hazel.

The evidence relied upon by the Government at the detention hearing,

Agent Hazel’s testimony and a limited proffer of other evidence, was

largely redundant with the affidavit. To summarize the Government’s

allegations, the Islamic State in Iraq and al-Sham (ISIS) is a well-

known FTO that has committed atrocities and terrorism. Its

propaganda encourages its followers who cannot join in its military

operations overseas to engage in “lone wolf” attacks where they live.

      Mr. Al-Azhari is a United States citizen. According to the

Government’s multi-level hearsay evidence, while living in Saudi

Arabia, Mr. Al-Azhari was convicted of “possessing extremist

propaganda,” “holding extremist views,” and attempting to join an


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organization called Jaysh al-Islam. (R. at 33-34). Jaysh al-Islam is a

rebel group fighting in the Syrian civil war against tyrant Bashar

Assad’s government forces. (Doc. 18-1). At least at the time of Mr. Al-

Azhari’s detention in Saudi Arabia, Jaysh al-Islam was supported by

the U.S. State Department and the very country that detained Mr. Al-

Azhari, Saudi Arabia. (Id.). Mr. Al-Azhari explained to the Pretrial

Services Officer that the Saudis tortured him while he was detained, a

fact confirmed by a relative. (Pretrial Serv. Rep. at 3). Mr. Al-Azhari is

23 years old now; he was a child when he was first imprisoned and

tortured. (See id. at 2).

      The FBI began surveilling Mr. Al-Azhari from the moment he

returned to the United States, after he was removed from Saudi Arabia,

in 2018. (R. at 10). The Government’s presentation included no

evidence of anything of note until April 20, 2020. Then, the

Government’s presentation indicated Mr. Al-Azhari attempted to buy a

legal gun part on Ebay. (Doc. 5, p. 1; R. at 10-11). The FBI posed as the

seller and, for a time, discussed with him the sale and barter of




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firearms. After Mr. Al-Azhari was arrested for carrying a concealed

pistol, he called off the deal. (Doc. 5, p. 21).

      The Government offered that Mr. Al-Azhari made internet

purchases it says are consistent with the creation of a silencer, and that

he expressed unorthodox views to co-workers, including statements in

support of the 9/11 attacks and Omar Mateen, who committed a mass

shooting at the Pulse nightclub in Orlando, Florida. The Government

also offered that Mr. Al-Azhari drove to Honeymoon Island beach and

local FBI headquarters to scout those locations as targets (so it says),

and to the Pulse nightclub. The Government offered that Mr. Al-Azhari

consumed ISIS propaganda and news, and made a video on his phone

playacting a terrorist scene. (R. at 9, 16-18).

      Lastly, the Government offered that it introduced Mr. Al-Azhari to

a paid informant, who discussed ISIS and jihad with Mr. Al-Azhari. In

speaking to this informant, on May 22, 2020, the Government offered

that Mr. Al-Azhari said, “I want to be ISIS.” (R. at 41). The

Government also offered that, on May 23, 2020, Mr. Al-Azhari, in

discussing jihadist beliefs with the informant, said, “I am ISIS.”


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However, Agent Hazel agreed that Mr. Al-Azhari did not join ISIS

“overnight.” (R. at 41). The Government offered that the paid

informant and Mr. Al-Azhari discussed a broad-ranging array of acts

they could commit with guns, including robbing banks, killing police

officers, and committing an attack similar to Mateen’s. (R. at 63-64).

Agent Hazel testified that the informant offered to facilitate the sale to

Mr. Al-Azhari of a pistol and silencer, and, when the sale was

consummated, the FBI arrested Mr. Al-Azhari. (R. at 23).

      On cross-examination Agent Hazel admitted that Mr. Al-Azhari

never attempted to provide any currency, monetary instruments,

financial securities, lodging, training, expert advice or assistance, safe

houses, false identification documents, communications equipment,

facilities, weapons, lethal substances, explosives, or transportation to

ISIS. (R. at 36-39). Agent Hazel testified that Mr. Al-Azhari attempted

to provide only “personnel,” in the form of himself, to ISIS. (R. at 39).

      However, Agent Hazel testified that Mr. Al-Azhari acted

independently of ISIS:

            Q. You describe Mr. Al-Azhari as a lone wolf
            terrorist, correct?

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            A. Yes.

            ....

            Q. All right. And what you mean by that, at least
            for example, is he wasn’t sent here by ISIS,
            correct?

            A. Correct.

            Q. And he wasn’t trained by ISIS?

            A. No.

            Q. He wasn’t under ISIS’s control?

            A. No.

            Q. He wasn’t taking direction from ISIS?

            A. No.

            Q. He didn’t organize anything for ISIS?

            A. Well, he – it appears he recruited [the
            informant] to help him in his attack on behalf of
            ISIS.

            Q. Okay. But he didn’t do that at the direction of
            anyone from ISIS, correct?

            A. Correct.

            Q. All right. He didn’t supervise anything for
            ISIS?

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            A. No.

            Q. He didn’t direct operations for ISIS?

            A. No.

            Q. And certainly you think he – he sympathized
            with ISIS, correct?

            A. Yes.

            Q. And you think he wanted to advance those
            goals, correct?

            A. Yes.

            ....

            Q. All right. And as a lone – but as a lone wolf, he
            -- he acted independently of ISIS, correct?

            A. Yes.

            Q. All right. And he was just seeking to achieve
            their -- their goals on his own?

            A. Yes.

(R. at 39-41).

      The pretrial services report showed that Mr. Al-Azhari has no

criminal history outside of his “conviction” in Saudi Arabia for “having

extremist views” and the like. All of his immediate family lives in the

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United States, and almost all of them in the Tampa area. The Defense

proffered that Mr. Al-Azhari’s father, who lives in Temple Terrace,

Florida, would allow Mr. Al-Azhari to live in his home, would co-sign an

appearance bond, would act as a third party custodian, and would

facilitate location monitoring. (R. at 69). The Defense also suggested a

search condition, that Mr. Al-Azhari be required to forfeit his passport,

and standard conditions of release, which would include a condition

that he not possess any firearm. (R. at 69).

      The magistrate judge found that Mr. Al-Azhari is a flight risk,

based on the severe penalty he faces if convicted. (R. at 73). She

further found that there is probable cause that Mr. Al-Azhari

committed the offense of attempting to provide material support to an

FTO. (Doc. 17, p. 1). Based on that finding, she applied a rebuttable

presumption that no condition or combination of conditions will

reasonably ensure the appearance of Mr. Al-Azhari as required, or the

safety of the community. (Id.). Citing the Government’s evidence, the

magistrate judge found that Mr. Al-Azhari failed to overcome the

presumption, and so ordered his detention. (Id.).


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                                ARGUMENT

      The magistrate judge erred in finding that a statutory

presumption arises, because there is not probable cause that Mr. Al-

Azhari committed the offense of attempting to provide material support

to an FTO. The Government presented no evidence in any form that

Mr. Al-Azhari attempted to work under the direction or control of ISIS.

Further, even if a statutory presumption does arise, the evidence

against Mr. Al-Azhari is so weak that the presumption is easily

rebutted. Mr. Al-Azhari’s history and circumstances further rebut any

presumption. Given the evidence, the Government failed to prove that

no combination of conditions will reasonably assure Mr. Al-Azhari’s

appearance and the safety of the community.

      A judicial officer may hold a detention hearing if the Government

makes certain showings, two of which are pertinent here. The judicial

officer must hold a hearing in a case that involves “a serious risk that

[the defendant] will flee.” 18 U.S.C. § 3142(f)(2)(A). Further, the

judicial officer may hold a detention hearing in a case that involves

certain offenses, including an offense listed in 18 U.S.C. §


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 2332b(g)(5)(B) that carries a maximum term of imprisonment of ten

 years of more. 18 U.S.C. § 3142(f)(1)(A). That list includes the offense

 charged in this case, providing or attempting to provide material

 support to an FTO under 18 U.S.C. § 2339B. 18 U.S.C. § 2332b(g)(5)(B).

       If the Government makes either of these two showings, the

 judicial officer must determine “whether any condition or combination

 of conditions . . . will reasonably assure the appearance of such person

 as required and the safety of any other person and the community . . . .”

 18 U.S.C. § 3142(f). In certain cases, a rebuttable presumption arises

 that no combination of conditions will suffice. Pertinent to this case,

 such a presumption arises “if the judicial officer finds that there is

 probable cause to believe that the person committed . . . an offense

 listed in section 2332b(g)(5)(B) of title 18, United States Code, for which

 a maximum term of imprisonment of 10 years or more is prescribed.”

 18 U.S.C. § 3142(e)(3)(C). 2




 2 The district court’s review of the magistrate judge’s detention order is de novo.
 United States v. Gaviria, 828 F.2d 667, 670 (11th Cir. 1987). The Court must decide
 this motion “promptly.” 18 U.S.C. § 3145(b).
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 I. The Government failed to present evidence sufficient to
 create a presumption against release.

      Whether the magistrate judge erred in applying the statutory

 presumption turns on whether the Government showed probable cause

 that Mr. Al-Azhari committed the charged offense, an attempted

 violation of 18 U.S.C. § 2339B. The Government failed to show probable

 cause because it failed to present any evidence that Mr. Al-Azhari

 attempted to work under ISIS’s direction and control, or to manage,

 supervise, or otherwise direct ISIS’s operations. Indeed, Agent Hazel

 affirmatively disclaimed in her testimony that the Government

 possesses any such evidence. Accordingly, the magistrate judge erred

 by applying the presumption.

      The statute at issue provides:

            Whoever knowingly provides material support or
            resources to a foreign terrorist organization, or
            attempts or conspires to do so, shall be fined under
            this title or imprisoned not more than 20 years, or
            both, and, if the death of any person results, shall
            be imprisoned for any term of years or life. To
            violate this paragraph, a person must have
            knowledge that the organization is a designated
            terrorist organization . . ., that the organization
            has engaged or engages in terrorist activity . . ., or


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             that the organization has engaged or engages in
             terrorism . . . .

 18 U.S.C. § 2339B(a)(1). “The term ‘material support or resources’ has

 the same meaning given that term in section 2339A (including the

 definitions of ‘training’ and ‘expert advice or assistance’ in that

 section) . . . .” 18 U.S.C. § 2339B(g)(4). Section 2339A, in turn,

 provides:

             (1) the term “material support or resources”
             means any property, tangible or intangible, or
             service, including       currency or monetary
             instruments or financial securities, financial
             services, lodging, training, expert advice or
             assistance, safehouses, false documentation or
             identification,    communications      equipment,
             facilities, weapons, lethal substances, explosives,
             personnel (1 or more individuals who may be or
             include oneself), and transportation, except
             medicine or religious materials;

             (2) the term “training” means instruction or
             teaching designed to impart a specific skill, as
             opposed to general knowledge; and

             (3) the term “expert advice or assistance” means
             advice or assistance derived from scientific,
             technical or other specialized knowledge.

 18 U.S.C. § 2339A(b) (emphasis added).

      Section 2339B continues:

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             Provision of Personnel. – No person may be
             prosecuted under this section in connection with
             the term “personnel” unless that person has
             knowingly provided, attempted to provide, or
             conspired to provide a foreign terrorist
             organization with 1 or more individuals (who may
             be or include himself) to work under that terrorist
             organization’s direction or control or to organize,
             manage, supervise, or otherwise direct the
             operation of that organization. Individuals who
             act entirely independently of the foreign terrorist
             organization to advance its goals or objectives
             shall not be considered to be working under the
             foreign terrorist organization’s direction and
             control.

 18 U.S.C. § 2239B(h). 3

       Mr. Al-Azhari is charged with an attempt under this statute. “To

 establish an attempt as a crime, proof is required: (1) that the

 defendant intended to commit the underlying criminal offense with the

 requisite mens rea, and (2) that the defendant engaged in conduct which

 constituted a substantial step toward the commission of that crime and

 which strongly corroborates the defendant’s criminal intent.” United




 3Subsection (h) does not provide an affirmative defense that must be proved by the
 defendant; the burden is the Government’s. United States v. Shafi, 252 F. Supp. 3d
 787, 792-93 (N.D. Cal. 2017); United States v. Pugh, No. 15-CR-116 (NGG), 2015 WL
 9450598, at *11 (E.D.N.Y. 2015).
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 States v. Rothenberg, 610 F.3d 621, 626 (11th Cir. 2010) (citations

 omitted).

      Applying the Rothenberg formulation to § 2339B, the Government

 had to show probable cause that (1) Mr. Al-Azhari intended to provide

 himself or someone else to work under ISIS’s direction or control, or to

 organize, manage, supervise, or otherwise direct the operations of ISIS,

 knowing that ISIS is a designated FTO, engages in terrorist activity, or

 engages in terrorism, and (2) Mr. Al-Azhari engaged in conduct that

 constituted a substantial step toward providing himself or someone else

 to work under ISIS’s direction or control, or to organize, manage,

 supervise, or otherwise direct the operation of ISIS, that strongly

 corroborated his intent. See 18 U.S.C. §§ 2339B(a)(1), (h), 2339A(b);

 Rothenberg, 610 F.3d at 626. Conversely, if there is no probable cause

 that Mr. Al-Azhari intended to provide himself or someone else to work

 under ISIS’s direction or control, or took any step toward doing so, the

 evidence is lacking, even if Mr. Al-Azhari sympathized with ISIS and

 attempted to advance the organization’s goals independently, through

 attacks or otherwise. See 18 U.S.C. § 2339B(h).


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      Eleventh Circuit cases considering § 2339B illustrate the point.

 See United States v. Suarez, 893 F.3d 1330, 1334-35 (11th Cir. 2018);

 United States v. Augustin, 661 F.3d 1105, 1119-22 (11th Cir. 2011). In

 Suarez, the defendant coordinated directly with individuals he believed

 to be members of ISIS in order to acquire a bomb, and accepted the

 bomb while reiterating his plan to detonate it on a crowded beach.

 Suarez, 893 F.3d at 1334-35. On these facts, the court held that the

 evidence was sufficient to sustain a conviction for attempting to violate

 § 2339B. Id. Suarez was guilty because he attempted to make himself

 “personnel” of ISIS by placing himself under the organization’s direction

 and control to conduct an attack, and only failed to do so because the

 people with whom he was interacting were not really ISIS members.

      Similarly, in Augustin, the defendants were charged with

 conspiracy to violate § 2339B. They met with an FBI informant who

 was posing as an Al Qaeda operative and liaison to that organization.

 The defendants discussed various attacks they would commit for the

 organization, and conducted reconnaissance and intelligence gathering

 at planned targets. At the informant’s demand, the defendants took a


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 prepared oath of allegiance to Al Qaeda in preparation for the attacks.

 The court affirmed the convictions, but noted that the evidence was “far

 from overwhelming.” Augustin, 661 F.3d at 1119-22.

       Thus, as Suarez and Augustin teach, to be guilty of an inchoate

 crime of attempt or conspiracy under § 2339B, the defendant must in

 some way endeavor to place himself or someone else under the FTO’s

 direction and control. Generally, this will involve some level of

 communication between the defendant and an agent or perceived agent

 of the FTO, as in Suarez and Augustin, or some thwarted effort to join

 the FTO on the battlefield overseas, see, e.g., United States v. Mehanna,

 735 F.3d 32, 43-46 (1st Cir. 2013) (affirming conspiracy conviction

 where the defendant traveled to Yemen to join an al Qaeda training

 camp as a recruit); United States v. Farhane, 634 F.3d 127, 150 (2d Cir.

 2011) (affirming conviction where the defendant took an oath to act as a

 battlefield doctor for the FTO). Out-of-circuit cases are in accord on this

 point. 4


 4See United States v. Wright, 937 F.3d 8, 26-27 (1st Cir. 2019); United States v. Kaizu,
 559 F.Appx. 32, 37 (2d Cir. 2014); United States v. Hendricks, 950 F.3d 348, 353 (6th
 Cir. 2020); United States v. Jones, 383 F.Supp.3d 810, 816 (N.D. Ill. 2019); see also
 Hosseini v. Nielson, 911 F.3d 366, 376 (6th Cir. 2018).
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       Perhaps because of the clarity of subsection (h)’s plain language,

 no case has ever sanctioned a prosecution under § 2339B where the

 defendant allegedly planned an attack in the United States on the basis

 of sympathy to an FTO, but without any direction or control from the

 FTO. 5 The Supreme Court upheld § 2339B against a constitutional

 vagueness challenge in part because of subsection (h)’s clarification that

 the statute does not capture independent acts done outside of the FTO’s

 direction and control. Holder v. Humanitarian Law Project, 561 U.S. 1,

 23 (2010). Expanding on this point, the Court explained:

             “[S]ervice” similarly refers to concerted activity,
             not independent advocacy. See Webster’s Third
             New International Dictionary 2075 (1993)
             (defining “service” to mean “the performance of
             work commanded or paid for by another: a
             servant’s duty: attendance on a superior”; or “an
             act done for the benefit or at the command of


 5 When pressed for analogous cases by the magistrate judge, the Government
 mentioned four: United States v. Osmakac, United States v. Saipov, United States v.
 Al-Arian, and the case of Omar Mateen. (R. at 48-50). Mr. Osmakac was not charged
 under § 2339B. United States v. Osmakac, 868 F.3d 937, 947-48 (11th Cir. 2017).
 The Saipov case is still pending trial. United States v. Saipov, No. 1:17-cr-722-VSB
 (S.D.N.Y. 2017). The defendants in Al-Arian were charged under § 2339B, but the
 jury was not charged that it could consider “personnel” as a basis for providing
 material support. United States v. Al-Arian, No. 8:03-cr-77-T-30-TBM (Doc. 1431).
 Omar Mateen was not prosecuted because he was killed. Mr. Mateen’s wife was
 prosecuted for her husband’s attack, and was acquitted. United States v. Salman,
 No. 6:17-cr-18-Orl-40KRS (Doc. 336).
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              another”).      Context confirms that ordinary
              meaning here. The statute prohibits providing a
              service “to a foreign terrorist organization.” §
              2339B(a)(1) (emphasis added). The use of the word
              “to” indicates a connection between the service and
              the foreign group. We think a person of ordinary
              intelligence would understand that independently
              advocating for a cause is different from providing
              a service to a group that is advocating for that
              cause.

 Id. at 23-24. 6 Thus, as subsection (h) makes abundantly clear, the

 provision of personnel “to” the FTO does not qualify as material support

 when it is undertaken independently and without concerted activity,

 and outside the direction and control of the FTO.

       Consistent with these principles, at least one court has rejected a

 Government effort to prosecute a defendant for providing himself as


 6 While the Government disclaimed any allegation that Mr. Al-Azhari attempted to
 provide a “service” under § 2339B at the hearing, (R. at 47), like “personnel,” “service”
 does not include independent activities. See Humanitarian Law Project, 561 U.S. at
 24 (“Moreover, if independent activity in support of a terrorist group could be
 characterized as a ‘service,’ the statute’s specific exclusion of independent activity in
 the definition of ‘personnel’ would not make sense. Congress would not have
 prohibited under ‘service’ what is specifically exempted from prohibition under
 ‘personnel.’ The other types of material support listed in the statute, including
 ‘lodging,’ ‘weapons,’ ‘explosives,’ and ‘transportation,’ § 2339A(b)(1), are not forms of
 support that could be provided independently of a foreign terrorist organization. We
 interpret ‘service’ along the same lines. Thus, any independent advocacy in which
 plaintiffs wish to engage is not prohibited by § 2339B. On the other hand, a person
 of ordinary intelligence would understand the term ‘service’ to cover advocacy
 performed in coordination with, or at the direction of, a foreign terrorist
 organization.”).
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 “personnel” to conduct an attack outside of the organization’s direction

 or control, albeit in a different, but closely related, context. See United

 States v. Abu-Jihaad, 600 F. Supp. 2d 362 (D. Conn. 2009). In Abu-

 Jihaad, the defendant consumed jihadist propaganda from an

 organization called Azzam. The defendant even corresponded with the

 organization, discussing current events and his thoughts on jihad.

 Azzam published a request to send resources to the Taliban, and

 exhorted its readers to assist in violent jihad. Then, the defendant sent

 Azzam sensitive information about U.S. naval ship movements and

 ammunition. However, there was no evidence that Azzam requested

 the information from Mr. Abu-Jihaad, or coordinated or directed him to

 provide it. 600 F. Supp. 2d at 366-75, 380-82, 401-02.

      Mr. Abu-Jihaad was charged under § 2239B’s companion statute,

 § 2239A. That statute, which provides the definition of “material

 support” for § 2339B, does not include § 2339B(h)’s express limitation

 on the word “personnel.” The court explained that, “as an initial

 matter, the Court must decide whether the amended definition of

 ‘personnel’ in § 2339B applies to § 2339A as well, for even the


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 Government concedes that if the amended definition in § 2339B applies

 to § 2339A, the evidence is wanting.” Id. at 399. Deciding that the

 subsection (h) clarification does not apply to § 2339A, the court adopted

 a definition of “personnel” for § 2339A: “one who makes resources in

 the form of individuals (including himself) available, or furnishes

 individuals (including himself), for the purpose of actively preparing for

 or carrying out the crimes prohibited by the statute through some form

 of coordinated action is guilty of violating § 2339A.” Id. at 400.

 Conversely, “[e]ntirely independent action is not sufficient to qualify as

 being at least ‘active in’ an organization as required by the definition of

 personnel.” Id.

      Applying this formulation to the facts before it, the court ruled

 that the Government’s evidence was insufficient. Id. at 402. Noting the

 lack of any coordination between Azzam and the defendant, the court

 explained:

              The Government recognizes this gap in the
              evidence and seeks to get around it by pointing to
              a general request by Azzam to its readership in
              November 2000, in which it sought aid for the
              Taliban by requesting money, gas masks, or
              battlefield medical services. Of course, Azzam also

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            exhorted its readers to assist in violent jihad. But
            to build a quid pro quo or understanding from
            these generalized requests for assistance is more
            than the evidence will bear, even taking all
            reasonable inferences in the light most favorable
            to the Government.

 Id. at 401-02.

      Here, Agent Hazel’s testimony narrowed the Government’s theory

 to that of Mr. Al-Azhari attempting to provide “personnel” to ISIS. (R.

 at 36-39). Further, Agent Hazel testified that Mr. Al-Azhari did not

 attempt to place himself under ISIS’s direction or control, and did not

 attempt to be an organizer, supervisor, or director of operations for

 ISIS. (R. at 39-41). There is no evidence, as there was in Suarez and

 Augustin, that Mr. Al-Azhari tried to join the FTO or work under its

 direction. Thus, even accepting at face value the Government’s

 evidence as to the historical facts, a straightforward application of

 subsection (h) demonstrates that there is not probable cause to believe

 that Mr. Al-Azhari committed the offense charged in the complaint. He

 took no substantial step, nor any step at all, to place himself or anyone

 else under ISIS’s direction and control, and did not intend to do so.



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      The Government’s response at the hearing was that ISIS exhorted

 its followers to commit “lone wolf” attacks, and that is what Mr. Al-

 Azhari attempted to do: he “affiliated himself” with ISIS, “consumed

 [their] directives,” and consumed their “propaganda telling people to

 carry out attacks.” (R. at 54-55). But this understanding of § 2339B

 would render subsection (h) meaningless. As in Abu-Jihaad, a

 listener’s consuming propaganda and exhortation does not place the

 listener under the speaker’s “direction or control,” even if the listener is

 persuaded to act. And, subsection (h) insulates from liability anyone

 who independently advances the FTO’s goals and objectives. Congress

 did not simultaneously protect those who independently advance the

 FTO’s goals and punish those who act knowing what the FTO’s goals

 are. Accordingly, the magistrate judge erred by finding that there is

 probable cause to believe that Mr. Al-Azhari committed an attempted

 violation of § 2339B, and in applying the statutory presumption in favor

 of detention.




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 II. The Government failed to show that no combination of
 conditions will reasonably assure Mr. Al-Azhari’s appearance
 and the safety of the community.

      The Government must show that no combination of conditions will

 assure the defendant’s appearance by a preponderance of the evidence,

 and must show that no combination of conditions will assure the safety

 of the community by clear and convincing evidence. United States v.

 Medina, 775 F.2d 1398, 1402 (11th Cir. 1985). Even when the statutory

 presumption applies, it only shifts the burden of production to the

 defendant; the burden of persuasion to show that no combination of

 conditions will assure the defendant’s appearance and the safety of the

 community remains with the Government. United States v. King, 849

 F.2d 485, 488 (11th Cir. 1988). The defendant must only provide some

 “quantum” of evidence to rebut the presumption. United States v.

 Hurtado, 779 F.2d 1467, 1470 n.4, 1479 (11th Cir. 1985).

      To determine “whether the defendant has successfully rebutted

 the presumption created in subsection (e), the judicial officer is directed

 to the four-part catechism of subsection (g).” Id. at 1479. That

 provision directs to the court to consider (1) the nature and


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 circumstances of the offense charged; (2) the weight of the evidence

 against the defendant; (3) the defendant’s history and circumstances;

 and (4) the nature and seriousness of the danger to any person or the

 community that would be posed by the defendant’s release. 18 U.S.C.

 § 3142(g). No factor is dispositive and the court does not tally up factors

 for one side or the other; the court must consider the “four-part

 catechism” “overall.” See United States v. Veres, No. 3:20-cr-18-J-

 32JBT, 2020 WL 1042051, at *3 (M.D. Fl. 2020).

      The “weight of the evidence” factor predominates in this case.

 There is little reason for Mr. Al-Azhari to flee if the Government lacks

 the evidence to make its case. Mr. Al-Azhari is not subject to § 2339B’s

 penalties if the Government cannot prove beyond a reasonable doubt

 that he is guilty. His strongest incentive is to appear at trial and put

 the Government to its proof. The Government’s evidence is not weighty;

 it is non-existent as to subsection (h). Indeed, the Government has

 specifically disclaimed having the necessary evidence. (R. at 39-41).

       In the face of this dearth of evidence, the “nature and

 circumstances of the offense charged” and “the nature and seriousness”


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 of any danger posed by Mr. Al-Azhari wilt away to unimportance. The

 Government has filed a document alleging that Mr. Al-Azhari has

 committed a crime, but lacks evidence to support its claim. The

 complaint is not evidence, and an unsupported allegation cannot justify

 detaining him on dangerousness grounds. The filing of a complaint

 backed by insufficient evidence is no reason to detain Mr. Al-Azhari for

 years while he awaits a jury trial to test that evidence. See United

 States v. Quartermaine, 913 F.2d 910, 917 (11th Cir. 1990) (citation

 omitted) (“[A]t some point and under some circumstances, the duration

 of pretrial detention becomes unconstitutional.”).

      Lastly, Mr. Al-Azhari’s history and circumstances favor release.

 He is 23 years old and has no criminal history–his only “conviction” is

 from Saudi Arabia, where he was charged with offenses unknown to

 this country and tortured until he pled guilty. He is a United States

 citizen, nearly all of his family members live in this district, and he has

 a history of employment here. He can live with his father, who will act

 as a third-party custodian and co-sign an appearance bond. He has

 offered to be subject to home detention with location monitoring, which


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 will allow the Government to know his every movement. The Court can

 impose a firearms restriction, a search condition, and limitations on his

 internet access. The Court can require him to forfeit his passport. He

 is indigent. Under these conditions, he would have neither strong

 reason nor means to flee, and the Court would be reasonably assured

 that he is no danger. Thus, whether or not the presumption applies, the

 Government has failed in its burden of showing that no combination of

 conditions would reasonably assure his appearance as required and the

 safety of the community.

                                CONCLUSION

      The Government has filed a complaint against Mr. Al-Azhari

 alleging that he attempted to provide material support to an FTO, but

 plainly lacks any evidence to overcome the limitation of § 2339B(h).

 The magistrate judge erred in applying a presumption of detention, and

 consideration of the statutory factors demonstrates that the

 Government has met neither its preponderance-of-the-evidence burden

 of showing that no conditions will reasonably assure his appearance,




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 nor its clear-and-convincing-evidence burden of showing that that no

 conditions will assure the safety of the community.

      WHEREFORE the Defendant, Mr. Al-Azhari, prays this Court

 will order his release on conditions.

      DATED this 10th day of June 2020.

                                          Respectfully submitted,

                                          JAMES T. SKUTHAN
                                          ACTING FEDERAL DEFENDER

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                      CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on this 10th of June 2020, a true and

 correct copy of the foregoing was filed with the Clerk of the Court using

 the CM/ECF system, which will send a notice of the electronic filing to:

      AUSA Patrick Scruggs.

                                          /s Samuel E. Landes
                                          Samuel E. Landes
                                          Assistant Federal Defender




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